Case 2:10-md-02179-CJB-DPC Document 1440-8 Filed 02/28/11 Page 1 of 2
      Case
BP Forms Gulf2:10-md-02179-CJB-DPC        Document
               of Mexico Oil Spill Escrow Trust | Press 1440-8
                                                        | BP   Filed 02/28/11 Page 2 of 2 1 of 1
                                                                                     Page


                                                                                          Reports and publications | Contact us | BP worldwide | Home
                                                                                                              Search:                                   Go




   About BP    Products and services   Environment and society        Investors     Press     Careers     Gulf of Mexico response

  You are here: BP Global      Press        Press releases


   Press releases                   BP Forms Gulf of Mexico Oil Spill Escrow Trust
   Speeches
                                  Release date: 09 August 2010
   Features                                                                                                              In this section
                                  BP announced today that it has established a trust and made a $3 billion initial
   Images and graphics                                                                                                     BP to Sell Package of UK
                                  deposit of the previously-announced $20 billion escrow account to pay
                                  legitimate claims arising from the Deepwater Horizon incident and the resulting        Upstream Assets
   Press contacts
                                  oil and gas spill.
                                                                                                                           BP and Reliance Industries
                                                                                                                         Announce Transformational
                                  “The purpose of the escrow account was to assure those adversely affected by           Partnership in India
                                  the spill that we indeed intend to stand behind our commitment to them and to
      What is RSS?                the American taxpayers,” said Bob Dudley, CEO of BP’s Gulf Coast                          BP Confirms Plans For Further
                                  Restoration Organization. “Establishing this trust and making the initial deposit      Petrochemicals Growth in China
                                  ahead of schedule further demonstrates our commitment to making it right in            Including Debottlenecking of BP
                                  the Gulf Coast.”                                                                       Zhuhai

                                                                                                                            BP Announces Plans to Enter
                                  Two individual trustees have been named to the newly-established trust that            into Arbitration Proceedings
                                  will administer the account: the Honorable John S. Martin, a former U.S. District
                                  Judge for the Southern District of New York, and Kent Syverud, Dean of the               BP Joins Marine Well
                                  Washington University School of Law.                                                   Containment Company

                                                                                                                                                      More
                                  Citigroup will serve as corporate trustee and paying agent for the account.
                                  Arrangements have been made for checks drawn on the fund to be cashed free
                                  of charge at any of the 160 Whitney National Bank branches across the Gulf
                                  Coast region.


                                  Notes for Editors:
                                  On June 16, following consultations with the U. S. Government, BP announced
                                  that it would transition the claims process required under the Oil Pollution Act of
                                  1990 to an independent claims facility managed by Kenneth Feinberg and
                                  create a $20 billion escrow account to satisfy claims resolved by that facility
                                  and certain other claims, including natural resource damages and state and
                                  local response costs. BP announced at the time that the first deposit of $3
                                  billion to the account would occur by the end of the third quarter. BP has
                                  decided to make this deposit early to demonstrate its commitment to meet its
                                  pledge to restore both the livelihoods of those affected by the oil spill and the
                                  environment.

                                  An additional $2 billion deposit will be made in the fourth quarter of 2010.
                                  Thereafter, $1.25 billion will be deposited per quarter until a total of $20 billion
                                  has been deposited.


                                  For further information:
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                                                                                                                                               back to top
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                                                                                                          Press Release, BP, BP Forms Gulf of Mexico Oil Spill
                                                                                                          Escrow Trust, available at
                                                                                                          http://www.bp.com/genericarticle.do?
                                                                                                          categoryId=2012968&contentId=7064316 (last visited Feb.
                                                                                                          22, 2011).

http://www.bp.com/genericarticle.do?categoryId=2012968&contentId=7064316                                                                     2/22/2011
